           Case 2:20-cv-01854-GMN-NJK Document 5 Filed 10/16/20 Page 1 of 2




 1
 2
 3
 4
                                 UNITED STATES DISTRICT COURT
 5
                                         DISTRICT OF NEVADA
 6
 7   MICHAEL WASHINGTON,
                                                              Case No.: 2:20-cv-01854-GMN-NJK
 8           Plaintiff(s),
                                                                             ORDER
 9   v.
                                                                         [Docket No. 4]
10   DANIEL LIPPMANN, et al.,
11           Defendant(s).
12          Pending before the Court is Plaintiff’s application to proceed in this action in forma
13 pauperis. Docket No. 4. Subject to the conditions outlined below, the Court GRANTS the
14 application to proceed in forma pauperis.
15          Plaintiff must pay an initial partial filing fee of the greater of twenty percent of the average
16 monthly deposits or twenty percent of the average monthly balance of his account for the six
17 months immediately preceding the commencement of this action. See 28 U.S.C. § 1915(b)(1).
18 Plaintiff’s average monthly balance is $84.41, and his average monthly deposit is $50.00.
19 Therefore, the Court finds that Plaintiff must pay an initial partial filing fee of $16.88.
20          Accordingly, IT IS ORDERED:
21          1.      Plaintiff’s application to proceed in forma pauperis without having to prepay the
22 full filing fee is GRANTED. Docket No. 4. However, Plaintiff shall be required to pay an initial
23 installment fee in the amount of $16.88 toward the full filing fee of $400, which includes the $350
24 filing fee and a $50 administrative fee. Plaintiff shall have the designated fee sent to the Clerk’s
25 Office, no later than November 16, 2020. Failure to do so may result in dismissal of this action.
26
27
28

                                                       1
           Case 2:20-cv-01854-GMN-NJK Document 5 Filed 10/16/20 Page 2 of 2




 1 Furthermore, even if this action is dismissed, the full filing fee must still be paid pursuant to 28
 2 U.S.C. § 1915(b)(2). 1
 3          2.       Plaintiff is permitted to maintain this action to conclusion without the necessity of
 4 prepayment of any additional fees or costs or the giving of security therefor. This Order granting
 5 in forma pauperis status shall not extend to the issuance and/or service of subpoenas at government
 6 expense.
 7          3.       The Clerk’s Office shall provide Plaintiff with two copies of this Order. Plaintiff
 8 is ordered to make the necessary arrangements to have one copy of this Order attached to the check
 9 in the amount of the designated fee.
10          4.       The Clerk’s Office shall send a copy of this Order to the attention of the inmate
11 accounts department at Clark County Detention Center, 330 South Casino Center, Las Vegas,
12 Nevada 89101. Pursuant to 28 U.S.C. § 1915(b)(2), Clark County Detention Center shall forward
13 to the Clerk of the United States District Court, District of Nevada, twenty percent of the preceding
14 month’s deposits to Plaintiff’s inmate trust account (in the months that the account exceeds $10.00)
15 until the full $400 filing fee has been paid for this action.
16          5.       The Clerk’s Office shall provide a copy of this Order to the Finance Division of the
17 Clerk’s Office.
18          IT IS SO ORDERED.
19          Dated: October 16, 2020
20                                                                 ______________________________
                                                                   Nancy J. Koppe
21                                                                 United States Magistrate Judge
22
23
24
25
26
27          1
             After it has received the partial filing fee as ordered herein, the Court will screen
   Plaintiff’s complaint as required by 28 U.S.C. § 1915. Nothing in this order should be construed
28 as suggesting that the Court will allow any of Plaintiff’s claims to proceed past the screening phase.

                                                       2
